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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                          )
 In re:                                                   ) Chapter 11
                                                          )
 ALEXANDER E. JONES,                                      ) Case No. 22-33553 (CML)
                                                          )
                         Debtor.                          )
                                                          )

       CERTIFICATE OF NO OBJECTION WITH RESPECT TO ORDER
  AUTHORIZING THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
OF ALEXANDER E. JONES TO RETAIN AND EMPLOY NARDELLO & CO. LLC AS
            SPECIALIZED FORENSIC FINANCIAL ADVISOR,
                  EFFECTIVE AS OF JANUARY 5, 2023

          Pursuant to the Procedures for Complex Chapter 11 Cases in the Southern District of Texas

(the “Complex Chapter 11 Case Procedures”), the undersigned counsel for the Official Committee

of Unsecured Creditors (the “Committee”) appointed in the chapter 11 case of Alexander E. Jones

(the “Debtor”) certifies as follows:

          1.     On February 6, 2023, the Committee filed the Application of the Official Committee

of Unsecured Creditors of Alexander E. Jones to Retain and Employ Nardello & Co. LLC as

Specialized Forensic Financial Advisor, Effective as of January 5, 2023 [ECF No. 136] (the

“Application”).

          2.     The deadline for receipt of objections to the Application passed on February 27,

2023. In accordance with paragraph 44 of the Complex Chapter 11 Case Procedures, the

undersigned represents to the Court that the Committee is unaware of any objection to the

Application, and that counsel to the Committee has reviewed the Court’s docket and no

objection/response appears thereon.

          3.     Attached hereto as Exhibit A is a blackline of the proposed Order Authorizing

Retention and Employment of Nardello & Co. LLC as Specialized Forensic Financial Advisor to
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the Official Committee of Unsecured Creditors, Effective as of January 5, 2023 (the “Proposed

Order”) filed with the Application marked against a revised version of the Proposed Order (the

“Revised Proposed Order”), the latter of which incorporates certain informal comments received

from Debtor’s counsel. A clean version of the Revised Proposed Order is attached hereto as

Exhibit B.

       WHEREFORE, the Committee respectfully requests that the Court enter the Revised

Proposed Order at its earliest convenience.

                          [Remainder of page intentionally left blank.]




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Dated: February 28, 2023          Respectfully submitted,


                                  By: /s/ Marty L. Brimmage, Jr.
                                  Marty L. Brimmage, Jr.

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                                  -and-

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                                  Counsel to the Official Committee of Unsecured
                                  Creditors of Alexander E. Jones




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                               CERTIFICATE OF SERVICE

       I certify that on February 28, 2023, I caused a copy of the foregoing document to be served

by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern

District of Texas.

                                                    /s/ Marty L. Brimmage, Jr.
                                                    Marty L. Brimmage, Jr.
